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                                  UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                      SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV-07-5944-JST
13   ANTITRUST LITIGATION
                                               MDL No. 1917
14

15                                             [PROPOSED] FINAL JUDGMENT
     This Document Relates to:                 OF DISMISSAL WITH PREJUDICE
16                                             AS TO THE PHILIPS, PANASONIC,
     All Indirect Purchaser Actions            HITACHI, TOSHIBA, SAMSUNG SDI,
17                                             THOMSON, AND TDA DEFENDANTS

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                                               Judge: Honorable Jon S. Tigar
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       [PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO THE PHILIPS, PANASONIC,
     HITACHI, TOSHIBA, SAMSUNG SDI, THOMSON, AND TDA DEFENDANTS ─ Master File No. CV-07-5944-JST
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 1           This matter has come before the Court to determine whether there is any cause why this

 2   Court should not approve the settlements with the Philips,1 Panasonic,2 Hitachi,3 Toshiba,4 Samsung

 3   SDI,5 Thomson,6 and TDA7 Defendants (collectively “Settling Defendants”) set forth in the

 4   respective settlement agreements (“Settlements”) relating to the above-captioned litigation, In re

 5   Cathode Ray Tube (CRT) Antitrust Litigation, Case No.3:07-cv-05944 JST, MDL No. 1917 (N.D.

 6   Cal.) (“Action”). The Court after carefully considering all papers filed and proceedings held herein

 7   and otherwise being fully informed in the premises, has determined that: (1) the Settlements should

 8   be approved; and (2) there is no just reason for delay of the entry of this final Judgment approving

 9   the Settlements. Accordingly, the Court directs entry of Judgment which shall constitute a final

10   adjudication of this case on the merits as to the parties to the Settlements. Good cause appearing

11   therefor, it is:

12           ORDERED, ADJUDGED AND DECREED THAT:

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       “Philips” includes Koninklijke Philips N.V. (f/k/a Koninklijke Philips Electronics N.V.), Philips
     Electronics North America Corporation, Philips Taiwan Limited (f/k/a Philips Electronics Industries
17   (Taiwan), Ltd.), and Philips do Brasil Ltda. (f/k/a Philips da Amazonia Industria Electronica Ltda.).
     The agreement was reached on January 26, 2015. See ECF No. 3862-1.
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       “Panasonic” includes Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.),
19   Panasonic Corporation of North America, and MT Picture Display Co., Ltd. The agreement was
     reached on January 28, 2015. See ECF No. 3862-2.
20   3
       “Hitachi” includes Hitachi, Ltd., Hitachi Asia, Ltd., Hitachi America, Ltd., Hitachi Electronic
     Devices (USA), Inc., and Hitachi Displays, Ltd. (n/k/a Japan Display Inc.). The agreement was
21   reached on February 19, 2015. See ECF No. 3862-3.
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22     “Toshiba” includes Toshiba Corporation, Toshiba America, Inc., Toshiba America Information
     Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America Electronic
23   Components, Inc. The agreement was reached on March 6, 2015. See ECF No. 3862-4.
     5
       “Samsung SDI” includes Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI
24   Brasil, Ltd., Tianjin Samsung SDI Co. Ltd., Shenzhen Samsung SDI Co., Ltd., SDI Malaysia Sdn.
     Bhd., and SDI Mexico S.A. de C.V. The agreement was reached on April 1, 2015. See ECF No.
25   3862-5.
     6
26     “Thomson” includes Technicolor SA (f/k/a Thomson SA) and Technicolor USA, Inc. (f/k/a
     Thomson Consumer Electronics, Inc). The agreement was reached on June 10, 2015. See ECF No.
27   3876-1.
     7
       “TDA” refers to Technologies Displays Americas LLC (f/k/a Thomson Americas LLC). The
28   agreement was reached on June 10, 2015. See ECF No. 3876-1.
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       [PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO THE PHILIPS, PANASONIC,
     HITACHI, TOSHIBA, SAMSUNG SDI, THOMSON, AND TDA DEFENDANTS ─ Master File No. CV-07-5944-JST
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 1           1.     The Court has jurisdiction over the subject matter of this litigation, and all actions

 2   within this litigation and over the parties to the Settlements, including all members of the Class and

 3   the Settling Defendants.

 4           2.     The definitions of terms set forth in the Settlements are incorporated hereby as though

 5   fully set forth in this Judgment.

 6           3.     The Court hereby finally approves and confirms the settlements set forth in the

 7   Settlements and finds that said settlements are, in all respects, fair, reasonable and adequate to the

 8   Class pursuant to Rule 23 of the Federal Rules of Civil Procedure and all applicable state laws.

 9           4.     The persons/entities set out in Exhibit 1, attached hereto, have timely and validly

10   requested exclusion from the Class and, therefore, are excluded. Such persons/entities are not

11   included in or bound by this Final Judgment. Such persons/entities are not entitled to any recovery

12   from the settlement proceeds obtained through the Settlements.

13         5.       The Court hereby dismisses on the merits and with prejudice the claims asserted by

14   the Plaintiffs against the Settling Defendants, which were certified as a settlement class in the

15   Court’s Order Granting Final Approval of the Settlements (ECF No. 4712), with Plaintiffs and

16   Settling Defendants to bear their own costs and attorneys’ fees except as provided for in the

17   Settlements.

18           6.     All persons and entities who are defined in the Settlements as Releasors are hereby

19   barred and enjoined from commencing, prosecuting, or continuing any claims, demands, actions,

20   suits, or causes of action, or otherwise seeking to establish liability, against Settling Defendants

21   (“Releasees”) based, in whole or in part, upon any of the Released Claims or conduct at issue in the

22   Released Claims.

23           7.      Releasees are hereby and forever released and discharged with respect to any and all

24   claims, demands, actions, suits, or causes of action which the Releasors had or have arising out of or

25   related to any of the Released Claims.

26           8.     The notice given to the Class of the settlements set forth in the Settlements and other

27   matters set forth therein was the best notice practicable under the circumstances. Said notice

28   provided due and adequate notice of the proceedings and of the matters set forth therein, including
                                               2
       [PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO THE PHILIPS, PANASONIC,
     HITACHI, TOSHIBA, SAMSUNG SDI, THOMSON, AND TDA DEFENDANTS ─ Master File No. CV-07-5944-JST
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 1   the proposed settlements set forth in the Settlements, to all persons entitled to such notice, and said

 2   notice fully satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure, the

 3   requirements of due process, and all applicable state laws.

 4           9.     Eleven objections to the Settlements were filed by 22 objectors. The objections are

 5   hereby overruled for the reasons set forth in the Court’s Order Granting Final Approval of Indirect

 6   Purchaser Settlements, ECF No. 4712.

 7           10.    Without affecting the finality of this Judgment in any way, this Court hereby retains

 8   continuing and exclusive jurisdiction over: (a) implementation of these settlements and any

 9   distribution to Class Members pursuant to further orders of this Court; (b) disposition of the

10   Settlement Fund; (c) hearing and determining applications by Plaintiffs’ Class Counsel for

11   attorneys’ fees, costs, expenses, including expert fees and costs, and other such items; (d) the Class

12   Action until the final judgments contemplated hereby have become effective and each and every act

13   agreed to be performed by the parties all have been performed pursuant to the Settlements; and (e)

14   all parties to the Class Action and Releasees for the purpose of enforcing and administering the

15   Settlements and the mutual releases and other documents contemplated by, or executed in

16   connection with, the Settlements.

17           11.    In the event that any of the settlements do not become effective in accordance with

18   the terms of that Settlement, then the judgment as to that Settling Defendant shall be rendered null

19   and void and shall be vacated, and in such event, all orders entered and releases delivered in

20   connection herewith shall be null and void and, except as otherwise provided in the Settlement, the

21   parties shall be returned to their respective positions ex ante.

22           12.    The Court determines, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

23   Procedure, that this Final Judgment should be entered and further finds that there is no just reason

24   for delay in the entry of this Judgment, as a Final Judgment, as to the parties to the Settlements.

25   Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

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       [PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO THE PHILIPS, PANASONIC,
     HITACHI, TOSHIBA, SAMSUNG SDI, THOMSON, AND TDA DEFENDANTS ─ Master File No. CV-07-5944-JST
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 1         IT IS SO ORDERED.




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     Dated: July 14, 2016                                           RDERE




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       [PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO THE PHILIPS, PANASONIC,
     HITACHI, TOSHIBA, SAMSUNG SDI, THOMSON, AND TDA DEFENDANTS ─ Master File No. CV-07-5944-JST
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                EXHIBIT 1
          Case 3:07-cv-05944-JST Document 4717 Filed 07/14/16 Page 7 of 7
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